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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                 18 CR 0101 (PAC)

5    CASEY MICHAEL ANTONE,

6                     Defendant.

7    ------------------------------x

8                                                   New York, N.Y.
                                                    June 5, 2018
9                                                   10:50 a.m.

10
     Before:
11
                               HON. PAUL A. CROTTY,
12
                                                    District Judge
13

14                                 APPEARANCES

15   GEOFFREY S. BERMAN
          United States Attorney for the
16        Southern District of New York
     JESSICA GREENWOOD
17        Assistant United States Attorney

18   NICHOLAS GOODMAN & ASSOCIATES, PLLC
          Attorneys for Defendant
19   BY: CAMILLE MARIE ABATE

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1               (Case called)

2               THE DEPUTY CLERK:     Counsel for the government, please

3    state your appearance.

4               MS. GREENWOOD:     Yes.   Good morning, your Honor.

5    Assistant United States attorney Jessica Greenwood on behalf of

6    the government.

7               THE COURT:     Good morning, Ms. Greenwood.

8               MS. ABATE:     Good morning, your Honor.         Camille Abate

9    for Mr. Antone who is sitting right here next to me.               We

10   apologize for being a little late.

11              Mr. Antone, how are you doing today?

12              THE DEFENDANT:     Good, your Honor.

13              THE COURT:     Ms. Greenwood, do you want to bring me up

14   to date?

15              MS. GREENWOOD:     Yes, your Honor.      Since the last

16   conference, the government has completed discovery, and we're

17   here today I believe to set a motion schedule.

18              THE COURT:     Ms. Abate, do you have motions?

19              MS. ABATE:     Your Honor, I do have motions I would like

20   to do.   However, I have spoken to my client.             We have gone over

21   the discovery.

22              He is unwilling to exclude time in this case.                 So I'm

23   in a little bit of a conundrum because there is some evidence

24   that the government has that they have not opened or have not

25   obviously decided whether they're going to use it or not.

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1              I would make a suppression motion on that evidence,

2    but it's not yet before us.       In discovery, there were a couple

3    other issues as to the conspiracy and statute of limitations

4    and jurisdiction, that I wanted to make.

5              But my client's wishes are to set a trial date now and

6    head on out to trial within the speedy trial time limit.                So

7    I'm in a little conundrum.

8              I did speak to Ms. Greenwood yesterday morning in

9    terms of whether or not there could be some kind of negotiated

10   plea, and she unfortunately is not able to get the numbers

11   together.   Essentially, my client really doesn't want to waive.

12             THE COURT:      I'm prepared to give you a trial whenever

13   you want.   You tell me.      We have time.     If we don't have time,

14   we'll make time.    June, July, August.

15             MS. ABATE:      Let me check my schedule.

16             (Defendant and counsel conferred)

17             MS. ABATE:      Your Honor, I am free at the end of June,

18   the 27th.

19             THE COURT:      How are you in the week of July 9 and

20   July 16, Ms. Abate?

21             MS. ABATE:      I am good the week of July 9, your Honor.

22             THE COURT:      We'll schedule the trial on July 9.

23             When will you make your motions?

24             MS. ABATE:      I would make them by next week.

25             MS. GREENWOOD:      Your Honor?

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1               THE COURT:     Yes, Ms. Greenwood.

2               MS. GREENWOOD:     I'm spoken with Ms. Abate.         She is

3    available the week of July 16, which would be preferable to the

4    government, if it's agreeable to the Court.

5               THE COURT:     July 16?

6               MS. GREENWOOD:     Yes.

7               THE COURT:     So you'll make your motions in two weeks,

8    Ms. Abate?

9               MS. ABATE:     Yes.   I will have them by the 19th, if not

10   earlier.

11              THE COURT:     Ten days to respond, Ms. Greenwood?

12              MS. GREENWOOD:     That's plenty of time, your Honor.

13              THE COURT:     That will bring us to the 29th of June.

14              Any replies will be due July 9.         We'll have a final

15   pretrial conference on Wednesday, July 11.           We'll go to trial

16   on the 16th.

17              MS. ABATE:     Thank you so much, your Honor.         I

18   appreciate it.

19              THE COURT:     Now, Ms. Greenwood, how long do you think

20   the trial is going to take?

21              MS. GREENWOOD:     It's a document-heavy case,

22   your Honor, not a witness-heavy case.          Approximately one week I

23   think, given records custodians, depending on stips that we

24   receive from the defense.        I would say no more than a week.

25              THE COURT:     If you receive stipulations?

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1              MS. GREENWOOD:      It would significantly speed up the

2    trial.   I think we could do it in a matter of a couple days.

3              THE COURT:      I hope you and Ms. Abate can work that out

4    because it's deadly dull to have records custodians here.

5    You're wasting the jury's time and everybody's time.

6              MS. GREENWOOD:      Of course, your Honor.

7              MS. ABATE:      Your Honor, there may be some issues as to

8    the number.    So we may work out some stipulations.            That's one

9    of the issues.

10             THE COURT:      David, do you want to read back the

11   schedule.

12             THE DEPUTY CLERK:      Defendant's motion due June 19,

13   government's response is June 29, and the reply is July 9.

14   There is a final pretrial conference set for July 11 at

15   11:30 a.m., and trial is set to begin July 16 at 9:30 a.m.

16             MS. GREENWOOD:      Your Honor, do you have a typical

17   schedule for pretrial feelings?

18             THE COURT:      It's in my usual practices.

19             MS. GREENWOOD:      Thank you, your Honor.        I haven't had

20   a chance to check them before today.

21             THE COURT:      I would like to get any voir dire you have

22   that's specific to Mr. Antone, request to charge.             It's all set

23   forth in my individual practices.

24             MS. GREENWOOD:      Thank you, your Honor.        We'll look at

25   that.

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1               THE COURT:     It's pretty much pro forma.

2               Anything else, Ms. Abate?

3               MS. ABATE:     No, your Honor.     That's it.       Thank you.

4               THE COURT:     We'll exclude time through the trial --

5               MS. GREENWOOD:      The government would move for the

6    exclusion of time through the trial, your Honor.

7               MS. ABATE:     Mr. Antone would object to excluding the

8    time.    I will make motions, and hopefully there will be no

9    problems doing the trial on the 16th, which is what he wants.

10              THE COURT:     We've excluded time from the time of the

11   indictment to now.        Correct?

12              MS. GREENWOOD:      I believe there may have been a short

13   period between indictment and arraignment, your Honor.

14              THE COURT:     Are we within the speedy trial clock?

15              MS. GREENWOOD:      I will have to double-check, your

16   Honor.    I believe we are well within it, but I will

17   double-check just to be sure.        I will notify the Court if there

18   are any issues.

19              THE COURT:     Thank you.

20              If you need Court intervention before we get together

21   again, let me know.       We'll set something up.          Otherwise, I'll

22   see you at the final pretrial conference on July 11, and we'll

23   be ready for trial on July 16 at 9:30 in the morning.                If

24   there's nothing else, I'll see you in July.

25              MS. GREENWOOD:      Thank you, your Honor.

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